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                               UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF MISSOURI
                                    SOUTHEASTERN DIVISION

                                                        §        Chapter 11
 In re:                                                 §
                                                        §        Case No. 20-43597-399
 BRIGGS & STRATTON                                      §
 CORPORATION, et al.,                                   §        (Jointly Administered)
                                                        §
                   Debtors.1                            §        Objections Due: March 31, 2021
                                                        §        Hearing Date: April 14, 2021
                                                        §        Hearing Time: 9:00 a.m. (Central Time)
                                                        §        Hearing Location: Courtroom 5-North
                                                        §        111 S. 10th St., St. Louis, MO 63102

      NOTICE OF HEARING ON SECOND INTERIM AND FINAL FEE APPLICATIONS
     FOR ALLOWANCE OF COMPENSATION AND REIMBURSEMENT OF EXPENSES

          PLEASE TAKE NOTICE that a hearing is to be held on April 14, 2021 at 9:00 a.m.

 (Central Time) in Courtroom 5-North at the United States Bankruptcy Court for the Eastern

 District of Missouri, Thomas F. Eagleton United States Courthouse, 111 South Tenth Street, St.

 Louis, Missouri. The following applications for allowance of compensation for services provided

 and reimbursement of expenses incurred (collectively, the “Fee Applications”) shall be

 considered:

          1. Second Interim and Final Application of Carmody MacDonald P.C., as Local
             Restructuring Counsel for Debtors and Debtors in Possession, for Allowance of
             Compensation for Professional Services Rendered and for Reimbursement of Actual
             and Necessary Expenses Incurred for the Period from July 20, 2020 Through and
             Including January 6, 2021 [Docket No. 1631].

          2. Final Application of Foley & Lardner LLP as Special Counsel to the Debtors for
             Approval and Allowance of Compensation for Services Rendered and Reimbursement
             of Expenses Incurred for the Period from July 20, 2020 Through January 5, 2021
             [Docket No. 1634].


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       The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
       number are: Briggs & Stratton Corporation (2330), Billy Goat Industries, Inc. (4442), Allmand Bros., Inc. (4710),
       Briggs & Stratton International, Inc. (9957), and Briggs & Stratton Tech, LLC (2102). The address of the
       Debtors’ corporate headquarters is 12301 West Wirth Street, Wauwatosa, Wisconsin 53222.
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        3. First Interim Fee Application of Hansen Reynolds LLC for Payment of Compensation
           and Reimbursement of Expenses for Period from July 20, 2020 Through November 30,
           2020 [Docket No. 1637].

        4. Second Interim and Final Application of Ernst & Young LLP for Compensation for
           Services Rendered and Reimbursement of Expenses Incurred as Financial and Tax
           Advisor to the Debtors for the Period from July 20, 2020 Through January 6, 2021
           [Docket No. 1636].

        5. Final Fee Application of Deloitte & Touche LLP For Compensation for Services
           Rendered and Reimbursement of Expenses Incurred as Independent Auditor to the
           Debtors for the Period from July 20, 2020 Through January 6, 2021 [Docket No. 1633].

        6. Second Interim and Final Fee Application of Houlihan Lokey Capital, Inc., as
           Investment Banker to Briggs & Stratton Corporation, et al., for Allowance of
           Compensation for Professional Services Rendered and for Reimbursement of Actual
           and Necessary Expenses Incurred for the Period from November 1, 2020 Through
           January 6, 2021 on an Interim Basis and From July 20, 2020 Through January 6, 2021
           on a Final Basis [Docket No. 1632].

        7. Final Fee Application of Kurtzman Carson Consultants LLC as Administrative Advisor
           for the Debtors for Allowance of Compensation for Professional Services Rendered
           and for Reimbursement of Actual and Necessary Expenses Incurred from July 20, 2020
           Through and Including January 6, 2021 [Docket No. 1635].

        ANY OBJECTIONS OR EXCEPTIONS TO ENTRY OF THE ORDERS ON A

 FINAL BASIS MUST BE FILED BY NO LATER THAN MARCH 31, 2021 AT 11:59

 P.M. (PREVAILING CENTRAL TIME) AND MUST BE SERVED UPON THE

 UNDERSIGNED AND FILED WITH THE CLERK OF THE UNITED STATES

 BANKRUPTCY COURT, THOMAS F. EAGLETON COURTHOUSE, 111 SOUTH

 TENTH STREET, 4TH FLOOR, ST. LOUIS, MISSOURI                         63102 AS PER THE

 ELECTRONIC CASE FILING REQUIREMENTS OF THE COURT.

        PLEASE TAKE FURTHER NOTICE that the Fee Applications have been

 electronically filed with the Clerk of the Bankruptcy Court and, as such, may be obtained: (i)

 by accessing the Court’s website at https://ecf.moeb.uscourts.gov through an account obtained

 from the Pacer Service Center at 1-800-676-6856 or www.pacer.gov or (ii) free of charge, by


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 accessing the Debtors’ case information website at http://www.kccllc.net/Briggs.

        PLEASE TAKE FURTHER NOTICE THAT interested parties who wish to appear

 telephonically may request dial-in information from the Courtroom Deputy, Craig J. Spidle, at

 (314) 244-4806, craig_spidle@moeb.uscourts.gov.

        PLEASE TAKE FURTHER NOTICE that your rights may be affected. You should read

 the Fee Applications carefully and discuss them with your attorney, if you have one in the chapter

 11 cases. (If you do not have an attorney, you may wish to consult one).

        PLEASE TAKE FURTHER NOTICE that if you do not want the Court to grant the relief

 requested in the Fee Applications, or if you want the Court to consider your views on the Fee

 Applications, then you or your attorney must attend the Hearing.




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  Dated: March 6, 2021
         St. Louis, Missouri
                                           Respectfully submitted,

                                           CARMODY MACDONALD P.C.


                                             /s/ Robert E. Eggmann
                                           Robert E. Eggmann, #37374MO
                                           Christopher J. Lawhorn, #45713MO
                                           Thomas H. Riske, #61838MO
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                                           Local Counsel to the Plan Administrator




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